                      Case 4:20-cv-02058-ACA                  Document 354-11                Filed 03/03/25                Page 1 of 1                       FILED
                                                                                                                                                2025 Mar-03 PM 09:31
                                                                                                                                                U.S. DISTRICT COURT
                                                        Alabama Department of Corrections                                                           N.D. OF ALABAMA

                                                              DUTY OFFICER REPORT

   1. Institution/Division:                                             2. Date           3. Time            4. Inc. No:                SCCF-18-01163
   ST.CLAIR CORRECTIONAL FAC.                                           9/2/2018          5:16:00 PM         Class Code:                A
   5. Type of Incident PRIMARY,
                       -
                                                                                   6. ASCAlncidentI)pe -PRIMARY:
   Assault-Inmate-on-Inmate with Serious Injury                                    III 1.1 Inmate-on-Inmate Assaults With Serious Injury
   7. Type of Incident Secondary:
                       -                                                           8. ASCA Incident Type Secondary:
                                                                                                        -




  Death   -   Inmate-on-Inmate                                                     111 6.1 Inmate-on-Inmate Homicides
  After Hours Transport
  9. Location of Incident:          G-Yard in front of P&Q Dorm
   10. Victim(s):
  Name                                    AIS          RJS        DOB       Sentenced From                   Date                   Length              Min Rel
  PETTIWAY, TERRY                      00258817        B /M    Redacted     MONTGOMERY                       09/14/2017             bY OM 0D            12/30/2019
  Offense(s)                         DISCHARGE GUN 0CC BLDG/VEH
   11. Susnect(s):
  Name                                    AIS          R/S        DOE       Sentenced From                   Date                   Length              Min Rel
  PRUITT, GERARD                       00284322        B /M   Redacted      MOBILE                           10/12/2017             20Y OM OD           08/29/2033
  Offense(s)                         ROBBERY I
  BRIEF Narrative:
  On September 2, 2018, at approximately 5:16 pm, inmate Terry Pettiway BM/ 258817 (1'14-2A) was stabbed in front of P&Q Dorm. Officer
  Dominique Vales assigned to G-Gate Rover responded to where inmate Pettiway was stabbed. Officer Vales, escorted inmate Pettiway to
  infirmary. Inmate Pettiway was examined by medical staff. Inmate Pettiway required medical transport to St. Vincent East Hospital for stab
  wound to the left side of the neck. Officers Kenneth Patton and Jeremy Puckett provided transport security. Reginald Paramedics Ambulance
  transported. Suspect is Gerard Pruitt BMI 284322 (Q37-IA). No weapon recovered. Captain Gary Malone On- Call Duty Official was on Site.
  Karla Jones Warden was notified, Edward Ellington, Institutional Coordinator Northern Region was notified. I&I investigator Herman Harris
  was notified.    9/2/2018 9:24 PM by russell.jones




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